This is a proceeding in contempt, and has been argued with, and submitted at the same time as, In re McCallum, ante p. 312,57 P.2d 1259. In this case, the defendant, not a licensed attorney, has been engaged in business as a real estate and fire insurance agent at White Salmon, Klickitat county, Washington, for twenty-five years. It appears he was never advised, and hence did not know, that the preparation of deeds, mortgages, contracts, bills of sale, etc., for others for compensation, constituted the practice of law. It also appears that he never received any notice from the Washington State Bar Association, or anyone, claiming that such business amounted to the practice of law.
This case, in all essential particulars, is similar to the companion case just referred to, upon the authority of which this case is dismissed, without prejudice to proceedings by any other remedy provided by law. *Page 691 